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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
MARC TETRO, INC.,
                                    Plaintiffs,                19-cv-2691(PKC)

                 -against-                                     ORDER

ANN TREBOUX a/k/a PAULA DATESH a/k/a
JEFF WENTZEL, an individual.

                                    Defendant.
-----------------------------------------------------------x

CASTEL, District Judge:

                 The Conference before this Court remains as scheduled for December 4, 2019 at 11

a.m. in Courtroom 11D of the United States Courthouse, 500 Pearl Street, New York, New York.

All parties must appear in person or by an attorney admitted to practice before this Court who has

heretofore filed a notice of appearance. For reasons that will be explained at the conference, any

and all requests for an adjournment are DENIED.

                 FAILURE TO APPEAR ON DECEMBER 4, 2019 at 11 a.m. WILL RESULT

IN DISMISSAL OF THE COMPLAINT, IN THE CASE OF PLAINTIFF, AND THE

STRIKING OF ANY ANSWER AND ENTRY OF A DEFAULT JUDGMENT AGAINST

DEFENDANT, IN THE CASE OF THE DEFENDANT.

                 SO ORDERED.




Dated: New York, New York
       December 2, 2019
